Case 2:21-cv-03467-MWF-PD Document 25 Filed 09/27/21 Page 1 of 1 Page ID #:76




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                              UNITED STATES DISTRICT COURT
  8
           CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION
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 10
      ALMA POLANCO,                                  Case No.: 2:21-cv-03467-MWF-PD
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 12
                     Plaintiff,                      ORDER FOR DISMISSAL WITH
                                                     PREJUDICE OF DEFENDANT
 13            vs.                                   EXPERIAN INFORMATION
                                                     SOLUTIONS, INC.
 14 EXPERIAN INFORMATION
      SOLUTIONS, INC., et. al.
 15           Defendants.
 16

 17
               Pursuant to the stipulation of the Parties, Experian Information Solutions, Inc.
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      is dismissed with prejudice and each party shall bear its own attorneys’ fees and
 19
      costs.
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               IT IS SO ORDERED.
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 22
      DATED: September 27, 2021
 23                                            MICHAEL W. FITZGERALD
                                               United States District Judge
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                                                 ORDER
